
682 S.E.2d 707 (2009)
636 N.C. 585
STATE of North Carolina
v.
Daniel Easley DEFOE.
No. 161PA09.
Supreme Court of North Carolina.
August 27, 2009.
Daniel Shatz, Durham, for Defoe.
Patrick Murphy, H. Dean Bowman, G. Patrick Murphy, Special Deputy Attorney Generals, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 15th of April 2009 in this matter for a writ of certiorari to review the order of the Superior Court of Richmond County, the following order was entered and is hereby certified to the Superior Court of that County:
Allowed by order of the Court in conference, this the 27th of August 2009.
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
